                       Case 19-56578-sms                         Doc 28            Filed 12/23/20 Entered 12/23/20 10:42:13                                       Desc Main
                                                                                  Document      Page 1 of 27
 Fill in this information to identify your case:
 Debtor 1               Tomika                                                                   Glass
                        First Name                              Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)    First Name                              Middle Name                      Last Name

 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number            19-56578
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information -
Amended                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $0.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $10,675.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $10,675.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $22,666.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $30,004.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $52,670.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $1,520.00
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $1,513.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1



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Debtor 1 Tomika                                                        Glass                        Case number (if known) 19-56578
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes.

7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                  $0.00
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $25,305.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $25,305.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                              page 2
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 Fill in this information to identify your case:
 Debtor 1               Tomika                                                      Glass
                        First Name                        Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)    First Name                        Middle Name               Last Name

 United States Bankruptcy Court for the:         Northern                     District of Georgia
                                                                                          (State)
 Case number            19-56578
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106A/B                                                                                                                             amended filing

Schedule A/B: Property - Amended                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
                Yes. Where is the property?
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                 State          Zip Code            Other

                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                 State          Zip Code            Other

                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:



   Official Form 106A/B                                                       Schedule A/B: Property                                                     page 1



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 Debtor 1 Tomika                                                                 Glass                             Case number (if known) 19-56578
              First Name                          Middle Name                    Last Name

                                                                 What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
 1.3                                                                  Single-family home                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                          Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative                                   Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                      Manufactured or mobile home
                                                                      Land
       Number              Street                                                                                                  Describe the nature of your ownership
                                                                      Investment property
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      Timeshare                                                    the entireties, or a life estate), if known.
       City                     State         Zip Code                Other

                                                                                                                                        Check if this is community property
                                                                 Who has an interest in the property? Check one.                        (see instructions)
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only
                                                                      At least one of the debtors and another
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.
   ...................................................................................................


Part 2:       Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No
        Yes
       3.1 Make                              Dodge                     Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             Journey                  one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2016                           Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
           Approximate mileage:              85000
                                                                            Debtor 2 only                                           Current value of the    Current value of the
              Other information:                                            Debtor 1 and Debtor 2 only                              entire property?        portion you own?
              2016 Dodge Journey                                                                                                    $8175.00                $8175.00
                                                                            At least one of the debtors and another

                                                                          Check if this is community property (see
                                                                          instructions)
       3.2 Make                                                        Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                                                      one.                                                         the amount of any secured claims on Schedule D:
           Year:                                                          Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                             Debtor 2 only                                           Current value of the    Current value of the
              Other information:                                            Debtor 1 and Debtor 2 only                              entire property?        portion you own?
                                                                            At least one of the debtors and another
                                                                            Check if this is community property (see
                                                                            instructions)




  Official Form 106A/B                                                            Schedule A/B: Property                                                                page 2
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Debtor 1 Tomika                                                                       Glass                              Case number (if known) 19-56578
             First Name                              Middle Name                      Last Name

       3.3 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       3.4 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes
       4.1 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       4.2 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                               $8175.00
    you have attached for Part 2. Write that number here ...................................................................................................




    Official Form 106A/B                                                              Schedule A/B: Property                                                                page 3
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Debtor 1 Tomika                                                                            Glass                                Case number (if known) 19-56578
            First Name                                 Middle Name                         Last Name

Part 3:    Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
   No
   Yes. Describe...           Furniture, Appliances, Etc.                                                                                                         $1200.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
   No
   Yes. Describe...           Electronics                                                                                                                         $350.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   No
   Yes. Describe...

 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
   No
   Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   No
   Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   No
   Yes. Describe...           Clothes                                                                                                                             $500.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
   No
   Yes. Describe...           Jewelry                                                                                                                             $250.00

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
   No
   Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
   No
   Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $2300.00
 for Part 3. Write that number here ..........................................................................................................................




 Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 4
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Debtor 1 Tomika                                                                                  Glass                     Case number (if known) 19-56578
          First Name                                      Middle Name                            Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                  portion you own?
                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                             or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................
                                                                                                   Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                          Institution name:
          Yes

                                        17.1. Checking account:                           Bank of America                                                    $200.00

                                        17.2. Checking account:

                                        17.3. Savings account:

                                        17.4. Savings account:

                                        17.5. Certificates of deposit:

                                        17.6. Other financial account:

                                        17.7. Other financial account:

                                        17.8. Other financial account:

                                        17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                        Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                        Name of entity                                                                    % of ownership:
          Yes. Give specific
          information about
          them




 Official Form 106A/B                                                                            Schedule A/B: Property                                                      page 5
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Debtor 1 Tomika                                                       Glass                        Case number (if known) 19-56578
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                   Institution name:
          Yes. List each
          account              401(k) or similar plan:
          separately.
                               Pension plan:

                               IRA:

                               Retirement account:

                               Keogh:

                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No                                                    Institution name:
          Yes....              Electric:

                               Gas:

                               Heating oil:

                               Security deposit on rental unit:

                               Prepaid rent:

                               Telephone:

                               Water:

                               Rented furniture:

                               Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




 Official Form 106A/B                                                  Schedule A/B: Property                                              page 6
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Debtor 1 Tomika                                                        Glass                         Case number (if known) 19-56578
         First Name                         Middle Name                Last Name

24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          No
                      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit
          No
          Yes. Describe...


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          No
          Yes. Describe...


27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
          No
          Yes. Describe...



Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.
28. Tax refunds owed to you
         No
         Yes. Give specific information                                                                           Federal:               $0.00
              about them, including whether
              you already filed the returns                                                                       State:                 $0.00
              and the tax years..............
                                                                                                                  Local:                 $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
                                                                                                                  Alimony:               $0.00
         Yes. Give specific information......
                                                                                                                  Maintenance:           $0.00

                                                                                                                  Support:               $0.00

                                                                                                                  Divorce settlement:    $0.00

                                                                                                                  Property settlement:   $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
         No
         Yes. Describe...




 Official Form 106A/B                                                   Schedule A/B: Property                                                        page 7
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Debtor 1 Tomika                                                                         Glass                                Case number (if known) 19-56578
            First Name                                Middle Name                       Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
                                                                      Company name:                                                        Beneficiary:             Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
            No
            Yes. Describe...


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
            No
            Yes. Describe...


35. Any financial assets you did not already list
            No
            Yes. Describe...



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                          $200.00
    for Part 4. Write that number here ................................................................................................................




Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
            No. Go to Part 6.                                                                                                                                  Current value of the
                                                                                                                                                               portion you own?
            Yes. Go to line 38.                                                                                                                                Do not deduct secured claims
                                                                                                                                                               or exemptions
38. Accounts receivable or commissions you already earned
            No
            Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe...




 Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 8
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 Debtor 1 Tomika                                                                              Glass                                 Case number (if known) 19-56578
              First Name                                  Middle Name                         Last Name
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
              No
              Yes. Describe...


 41. Inventory
              No
              Yes. Describe...


 42. Interests in partnerships or joint ventures
              No
                                                                           Name of entity:                                                         % of ownership:
              Yes. Give specific
              information about
              them



 43. Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                           No
                           Yes. Describe........

 44. Any business-related property you did not already list
              No
              Yes. Give specific
              information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
               Yes. Go to line 47.                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish
               No
               Yes. Describe...




   Official Form 106A/B                                                                        Schedule A/B: Property                                                                              page 9
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                    Case 19-56578-sms                               Doc 28            Filed 12/23/20 Entered 12/23/20 10:42:13                                                       Desc Main
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 Debtor 1 Tomika                                                                               Glass                                 Case number (if known) 19-56578
              First Name                                  Middle Name                          Last Name

 48.     Crops-either growing or harvested
               No
               Yes. Describe...


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
               No
               Yes. Describe...


 50.     Farm and fishing supplies, chemicals, and feed
               No
               Yes. Describe...


 51.     Any farm- and commercial fishing-related property you did not already list
               No
               Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
              No
              Yes. Give specific
              information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:      List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................

 56. part 2 total vehicles, line 5                                                                 $8175.00
 57.Part 3: Total personal and household items, line 15                                            $2300.00
 58.Part 4: Total financial assets, line 36                                                        $200.00
 59. Part 5: Total business-related property, line 45

 60. Part 6: Total farm- and fishing-related property, line 52

 61. Part 7: Total other property not listed, line 54

 62. Total personal property. Add lines 56 through 61. ....................
                                                                                                   $10675.00                                                                            + $10675.00
                                                                                                                                             Copy personal property total

                                                                                                                                                                                        $10675.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................


   Official Form 106A/B                                                                        Schedule A/B: Property                                                                       page 10
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                                                                   Document     Page 13 of 27
Fill in this information to identify your case:
Debtor 1                Tomika                                                  Glass
                        First Name                    Middle Name               Last Name
Debtor 2
(Spouse, if filing)     First Name                    Middle Name               Last Name

United States Bankruptcy Court for the:       Northern                     District of Georgia
                                                                                       (State)
Case number             19-56578
(If known)
                                                                                                                                                   Check if this is an
Official Form 106C                                                                                                                                 amended filing


Schedule C: The Property You Claim as Exempt - Amended                                                                                                          04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim
as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any
additional pages, write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.

Part 1:       Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and         Current value of        Amount of the exemption you claim               Specific laws that allow exemption
        line on Schedule A/B that lists this          the portion you
        property                                      own                     Check only one box for each exemption.

                                                      Copy the value from
                                                      Schedule A/B

        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(4)
        description:                                      $1,200.00
              Furniture, Appliances,                                                                $1,200.00
              Etc.                                                                100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:         06
        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(4)
        description:                                       $500.00
              Clothes                                                                                $500.00
        Line from                                                                 100% of fair market value, up to any
        Schedule A/B:           11                                                applicable statutory limit

 3.     Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




      Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                        page 1 of 2



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Debtor 1 Tomika                                                   Glass                      Case number (if known) 19-56578
          First Name                    Middle Name               Last Name

Part 2:   Additional Page

    Brief description of the property and      Current value of      Amount of the exemption you claim               Specific laws that allow exemption
    line on Schedule A/B that lists this       the portion you
    property                                   own                   Check only one box for each exemption.

                                               Copy the value from
                                               Schedule A/B

    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                      $350.00
          Electronics                                                                     $350.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:       07                                                applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(5)
    description:                                      $250.00
          Jewelry                                                                         $250.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:       12                                                applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(6)
    description:                                      $200.00
          Checking account, Bank                                                          $200.00
          of America                                                      100% of fair market value, up to any
    Line from                                                             applicable statutory limit
    Schedule A/B:       17




  Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                      page 2 of 2
                                                                                                 Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
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Fill in this information to identify your case:
Debtor 1              Tomika                                            Glass
                      First Name                Middle Name             Last Name                          Check if this is:
Debtor 2
(Spouse, if filing)   First Name                Middle Name             Last Name                             An amended filing

United States Bankruptcy Court for      Northern                   District of Georgia                          A supplement showing post-petition chapter 13
the:                                                                                                            expenses as of the following date:
                                                                               (State)
Case number 19-56578
(If known)                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income - Amended                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment


 1. Fill in your employment                                           Debtor 1                                     Debtor 2
    information.
                                        Employment status                Employed                                     Employed
     If you have more than one job,
     attach a separate page with                                         Not Employed                                 Not Employed
     information about additional
     employers.                         Occupation                   Self-employment
     Include part time, seasonal, or    Employer's name
     self-employed work.
                                        Employer's address
     Occupation may include student                                   Number Street                                Number Street
     or homemaker, if it applies.




                                                                      City                State   Zip Code         City                State   Zip Code

                                        How long employed
                                        there?


 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                         For Debtor 1             For Debtor 2 or
                                                                                                                  non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll      2.                 $0.00
      deductions.) If not paid monthly, calculate what the monthly wage would
      be.
   3. Estimate and list monthly overtime pay.                                    3.                + $0.00
   4. Calculate gross income. Add line 2 + line 3.                               4.                     $0.00




   Official Form 106I                                             Schedule I: Your Income                                                      page 1


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Debtor 1Tomika                                                        Glass                       Case number (if         19-56578
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse

  Copy line 4 here                                                                4.                   $0.00
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.                  $0.00
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00
   5c. Voluntary contributions for retirement plans                               5c.                  $0.00
   5d. Required repayments of retirement fund loans                               5d.                  $0.00
   5e. Insurance                                                                  5e.                  $0.00
   5f. Domestic support obligations                                               5f.                  $0.00
   5g. Union dues                                                                 5g.                  $0.00
   5h. Other deductions. Specify:                                                 5h. +                $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.                   $0.00
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.                   $0.00

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.               $800.00
   8b. Interest and dividends                                                     8b.                  $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.               $120.00
   8d. Unemployment compensation                                                  8d.                  $0.00
   8e. Social Security                                                            8e.                  $0.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
        Food Assistance Programs Income                                           8f.               $600.00
   8g. Pension or retirement income                                               8g.                  $0.00
   8h. Other monthly income. Specify:                                             8h. +                $0.00 +
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.               $1,520.00

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $1,520.00 +                         =              $1,520.00
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                            11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                  12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                       $1,520.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




  Official Form 106I                                                 Schedule I: Your Income                                                      page 2

                                                                                                       Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
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Debtor 1Tomika                                                        Glass                     Case number (if   19-56578
         First Name                         Middle Name               Last Name                 known)
Official Form 106I. Additional page.
8a.Net income from rental property and from operating a business, profession, or farm

 8a.1 Business Income                                        Debtor 1         Debtor 2
   Gross receipts (before all deductions)                    $800.00
   Ordinary and necessary operating expenses                 -$0.00       -
   Net monthly income from a business, profession, or farm   $800.00                     Copy   $800.00
                                                                                         here




  Official Form 106I                                              Schedule I: Your Income                                          page 3
                                                                                                    Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
                       Case 19-56578-sms                 Doc 28        Filed 12/23/20 Entered 12/23/20 10:42:13                                     Desc Main
                                                                      Document     Page 18 of 27
 Fill in this information to identify your case:
 Debtor 1               Tomika                                                        Glass
                        First Name                       Middle Name                  Last Name
                                                                                                                     Check if this is:
 Debtor 2
 (Spouse, if filing)    First Name                       Middle Name                  Last Name                          An amended filing

 United States Bankruptcy Court for the:          Northern                       District of Georgia                     A supplement showing post-petition chapter 13
                                                                                                                         expenses as of the following date:
                                                                                             (State)
 Case number            19-56578
 (If known)                                                                                                              MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses - Amended                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?

              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?

                         No

                         Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                 No
    Do not list Debtor 1 and                Yes. Fill out this information for     Dependent's relationship to          Dependent's          Does dependent live
    Debtor 2.                               each dependent                         Debtor 1 or Debtor 2                 age                  with you?
                                                                                   Child                                14 years                No.
                                                                                                                                               Yes.
                                                                                   Child                                19 years               No.
                                                                                                                                               Yes.

 3. Do your expenses include
    expenses of people other                No
    than
    yourself and your                       Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                              Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                                 $200.00
      any rent for the ground or lot. 4.                                                                                                       4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                   4a                    $0.00
       4b. Property, homeowner's, or renter's insurance                                                                                       4b.                    $0.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                      4c.                    $0.00
       4d. Homeowner's association or condominium dues                                                                                        4d.                    $0.00




     Official Form 106J                                                      Schedule J: Your Expenses                                                     page 1



                                                                                                                 Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
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Debtor 1 Tomika                                                          Glass                      Case number (if known) 19-56578
          First Name                        Middle Name                  Last Name


                                                                                                                                               Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                          5.                  $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                                 6a.                  $0.00
   6b. Water, sewer, garbage collection                                                                                               6b.                  $0.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                                 6c.              $100.00
   6d. Other. Specify:                                                                                                                 6d                  $0.00
7. Food and housekeeping supplies                                                                                                      7.              $680.00
8. Childcare and children's education costs                                                                                           8.                   $0.00
9. Clothing, laundry, and dry cleaning                                                                                                9.                  $50.00
10. Personal care products and services                                                                                               10.              $200.00
11. Medical and dental expenses                                                                                                       11.                 $50.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                      12.              $100.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                                13.                  $0.00
14. Charitable contributions and religious donations                                                                                  14.                  $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                                15a                  $0.00
   15b. Health insurance                                                                                                              15b                  $0.00
   15c. Vehicle insurance                                                                                                             15c                  $0.00
   15d. Other insurance. Specify:                                                                                                     15d                  $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                                $0.00
                                                                                                                                       16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                                    17a                  $0.00
   17b. Car payments for Vehicle 2                                                                                                    17b                  $0.00
   17c. Other. Specify:                                                                                                               17c                  $0.00
   17d. Other. Specify:                                                                                                               17d                  $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                            $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                 18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                           19.                  $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                                   20a                  $0.00
   20b. Real estate taxes.                                                                                                            20b                  $0.00
   20c. Property, homeowner's, or renter's insurance                                                                                  20c                  $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                                     20d                  $0.00
   20e. Homeowner's association or condominium dues                                                                                   20e                  $0.00




  Official Form 106J                                                    Schedule J: Your Expenses                                                page 2
                                                                                                        Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
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Debtor 1 Tomika                                                     Glass                       Case number (if known) 19-56578
         First Name                       Middle Name               Last Name

21.Other. Specify: Business car expenses , Business legal expense , Business Office expenses                                21                $133.00

22. Calculate your monthly expenses.                                                                                                       $1,513.00
   22a. Add lines 4 through 21.                                                                                                                $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                    $1,513.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                          22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a             $1,520.00
   23b. Copy your monthly expenses from line 22 above.                                                                     23b             $1,513.00
   23c. Subtract your monthly expenses from your monthly income.                                                                                 $7.00
        The result is your monthly net income.                                                                             23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No

        Yes

                  Explain here:




  Official Form 106J                                               Schedule J: Your Expenses                                            page 3
                                                                                                     Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
                       Case 19-56578-sms            Doc 28     Filed 12/23/20 Entered 12/23/20 10:42:13                                     Desc Main
                                                              Document     Page 21 of 27
 Fill in this information to identify your case:
 Debtor 1               Tomika                                            Glass
                        First Name                  Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name           Last Name

 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number            19-56578
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106Dec                                                                                                                             amended filing


Declaration About an Individual Debtor's Schedules - Amended                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ Tomika Glass
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 12/22/2020                                                                 Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                        page 1



                                                                                                     Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
                      Case 19-56578-sms            Doc 28      Filed 12/23/20 Entered 12/23/20 10:42:13                            Desc Main
                                                              Document     Page 22 of 27
Fill in this information to identify your case:
Debtor 1               Tomika                                             Glass
                       First Name                  Middle Name            Last Name
Debtor 2
(Spouse, if filing)    First Name                  Middle Name            Last Name

United States Bankruptcy Court for the:     Northern                 District of Georgia
                                                                                 (State)
Case number            19-56578
(If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 - Amended                                                                                  12/15
If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Part 1:       List Your Creditors Who Have Secured Claims
 1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.


       Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                               secures a debt?                                   as exempt on Schedule C?

       Creditor's                                                                   Surrender the property.                          No.
       name: Chrysler Capital                                                                                                        Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:   2016 Dodge Journey                                          Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name:                                                                                                                         Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name:                                                                                                                         Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name:                                                                                                                         Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:


      Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                              page 1



                                                                                                     Doc ID: 76cb1db4a9ad72e94370954026cde665b545b771
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Debtor Tomika                                                   Glass                     Case number (if         19-56578
1      First Name                      Middle Name              Last Name                 known)

Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may
assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).


     Describe your unexpired personal property leases                                                         Will the lease be assumed?

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:


Part 3:   Sign Below
   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.


   û Signature
       /s/ Tomika Glass
               of Debtor 1
                                                                             û Signature of Debtor 2
      Date 12/22/2020                                                           Date
           MM/DD/YYYY                                                                  MM/DD/YYYY




   Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 2



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 Fill in this information to identify your case:
                                                                                                                 Check one box only as directed in this form and in
 Debtor 1               Tomika                                                   Glass                           Form 122A-1Supp:
                        First Name                     Middle Name               Last Name
                                                                                                                    1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing)    First Name                     Middle Name               Last Name                          2. The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:       Northern                     District of Georgia                     Means Test Calculation (Official Form 122A-2).
                                                                                        (State)
 Case number            19-56578                                                                                    3. The Means Test does not apply now because of
 (If known)                                                                                                         qualified military service but it could apply later.

                                                                                                                    Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily
consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
(Official Form 122A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income
  1.What is your marital and filing status? Check one only.

              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
           Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
           bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
           August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
           Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
           income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions                                  $0.00
    (before all payroll deductions).
  3. Alimony and maintenance payments. Do not include payments from a spouse if                          $0.00
    Column B is filled in.
  4. All amounts from any source which are regularly paid for household
    expenses of you or your dependents, including child support.
    Include regular contributions from an unmarried partner, members of your,
    household your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not                                $0.00
    include payments you listed on line 3.
  5. Net income from operating a business, profession,            Debtor 1 Debtor 2
    or farm
    Gross receipts (before all deductions)                        $0.00
    Ordinary and necessary operating expenses                    -$0.00    -
    Net monthly income from a business, profession, or farm $0.00                   copy
                                                                                    here                 $0.00
  6.Net income from rental and other real property                Debtor 1 Debtor 2
      Gross receipts (before all deductions)                        $0.00
      Ordinary and necessary operating expenses                    -$0.00        -
      Net monthly income from rental or other real property         $0.00                         copy
                                                                                                  here   $0.00
  7. Interest, dividends, and royalties                                                                  $0.00




   Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                             page 1



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Debtor 1 Tomika                                                         Glass                      Case number (if known) 19-56578
          First Name                        Middle Name                 Last Name
                                                                                                 Column A                Column B
                                                                                                 Debtor 1                Debtor 2 or
                                                                                                                         non-filing spouse
 8.Unemployment compensation                                                                     $0.00
   Do not enter the amount if you contend that the amount received was a benefit
   under the Social Security Act. Instead, list it here:
   For you                                                   $0.00
   For your spouse                                           $0.00

 9.Pension or retirement income. Do not include any amount received that was a                   $0.00
   benefit under the Social Security Act. Also, except as stated in the next sentence,
   do not include any compensation, pension, pay, annuity, or allowance paid by the
   United States Government in connection with a disability, combat-related injury or
   disability, or death of a member of the uniformed services. If you received any
   retired pay paid under chapter 61 of title 10, then include that pay only to the
   extent that it does not exceed the amount of retired pay to which you would
   otherwise be entitled if retired under any provision of title 10 other than chapter 61
   of that title.
 10.Income from all other sources not listed above.Specify the source and
   amount. Do not include any benefits received under the Social Security Act;
   payments made under the Federal law relating to the national emergency declared
   by the President under the National Emergencies Act (50 U.S.C. 1601 et seq.) with
   respect to the coronavirus disease 2019 (COVID-19); payments received as a
   victim of a war crime, a crime against humanity, or international or domestic
   terrorism; or compensation, pension, pay, annuity, or allowance paid by the
   United States Government in connection with a disability, combat-related injury or
   disability, or death of a member of the uniformed services. If necessary, list other
   sources on a separate page and put the total below.



   Total amounts from separate pages, if any.                                                    +$0.00                  +


 11. Calculate your total current monthly income. Add lines 2 through 10 for                                        +                           =
                                                                                                 $0.00                                                $0.00
 each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                    Total current
                                                                                                                                                    monthly income
Part 2:   Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps:
   12a. Copy your total current monthly income from line 11.                                                     Copy line 11 here                    $0.00
        Multiply by 12 (the number of months in a year).                                                                                              X 12
   12b. The result is your annual income for this part of the form.                                                                      12b.         $0.00

13 Calculate the median family income that applies to you. Follow these steps:
                                                                      Georgia
   Fill in the state in which you live.
                                                                         3
   Fill in the number of people in your household.

   Fill in the median family income for your state and size of household.                                                               13.         $72,594.00
   To find a list of applicable median income amounts, go online using the link specified in the separate
   instructions for this form. This list may also be available at the bankruptcy clerk’s office.
14. How do the lines compare?
   14a.      Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
             Go to Part 3. Do NOT fill out or file Official Form 122A-2
   14b.      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
             Go to Part 3 and fill out Form 122A-2.




 Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                          page 2
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Debtor 1 Tomika                                                        Glass                       Case number (if known) 19-56578
           First Name                      Middle Name                 Last Name

Part 3:   Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



    û Signature
        /s/ Tomika Glass
                of Debtor 1
                                                                                    û Signature of Debtor 2
          Date 12/22/2020                                                               Date
               MM/DD/YYYY                                                                      MM/DD/YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.
      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                          )   CHAPTER 13
                                                 )
                                                 )   CASE NO.: 19-56578-SMS
 Tomika Glass,                                   )
                                                 )
          Debtor.

                                CERTIFICATE OF SERVICE

        I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the within Documents upon the following by depositing a copy of the same in U.S. Mail with
sufficient postage affixed thereon to ensure delivery:



                Tomika Glass
             8960 Crestview Circle
             Union City, GA 30291




       I further certify that, by agreement of parties, Mary Ida Townson, Standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system.

Dated: December 23, 2020
                                                     /s/
                                                     Araba Kwofie
                                                     GA Bar No.: 901621
                                                     The Semrad Law Firm, LLC
                                                     235 Peachtree St NE
                                                     Suite #300
                                                     Atlanta, GA 30303
                                                     (678) 668-7160
                                                     Attorney for the Debtor/Movant
                                                     atlcourtdocs@gmail.com
